Case 6:05-cv-01601-KRS Document 138 Filed 01/09/07 Page 1 of 2 PageID 1700




                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

  BARBARA J. BARRINGTON,

                                  Plaintiff,

  -vs-                                                                Case No. 6:05-cv-1601-Orl-KRS

  LOCKHEED MARTIN, ET AL.,

                          Defendants.
  ________________________________________

                                                  ORDER

            This cause came on for consideration without oral argument on the following motion filed

  herein:

                MOTION:       PLAINTIFF NOTICE TO THE COURT (Doc. No. 137)

                FILED:      January 8, 2007
                _______________________________________________________

                THEREON it is ORDERED that the motion is DENIED.

            Plaintiff Barbara Barrington filed this “notice” that the responses to her motion for summary

  judgment filed by Defendants Lockheed Martin and UAW Local 788, International Union of

  Automobile, Aerospace-Agricultural Implements Workers of America “should be stricken” because

  they were filed after the thirty day time limit for filing such responses.1

            The Case Management and Scheduling Order in this case provides that “[e]ach party opposing

  a motion for summary judgment shall serve, within thirty days after being served with such motion,


            1
          Barrington is advised that under Federal Rule of Civil Procedure 7(b), any request for court
  action must be made by motion.
Case 6:05-cv-01601-KRS Document 138 Filed 01/09/07 Page 2 of 2 PageID 1701




  a legal memorandum . . . in opposition . . . .” Doc. No. 96 at 6. The certificate of service of

  Barrington’s motion for summary judgment indicates that service was effected by postal mail on

  December 2, 2006. Doc. No. 128. Federal Rule of Civil Procedure 6(e) provides that when service

  is made by any method other than in-person, three days are added to the time required to act.

  Accordingly, the responses filed by the defendants on January 2, 2007, and January 3, 2007, were

  timely.

            DONE and ORDERED in Orlando, Florida on January 9, 2007.

                                                               Karla R. Spaulding
                                                            KARLA R. SPAULDING
                                                      UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




                                                -2-
